                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


REGINALD FULLARD,                                      )
                                                       )
                    Plaintiff,                         )
                                                       )
            v.                                         )         1:20CV253
                                                       )
MS. PERRY,                                             )
                                                       )
                    Defendant(s).                      )

                                                  ORDER

        The Recommendation of the United States Magistrate Judge was filed with the court

in accordance with 28 U.S.C. § 636(b) and, on November 16, 2020, was served on the parties

in this action. Plaintiff filed a document which has been construed as objections to the

recommendation. (See ECF No. 10.)

        The court has appropriately reviewed the portions of the Magistrate Judge’s report to

which objection was made and has made a de novo determination which is in accord with

the Magistrate Judge’s report. The court therefore adopts the Magistrate Judge’s

recommendation.1

        Plaintiff has also filed a letter application to proceed in forma pauperis. (ECF No. 11.)

The Court will deny this request as moot at this time.

        IT IS THEREFORE ORDERED that Plaintiff’s document entitled, “Petition for

Stay for Cause Cited Doc. 2 Filed 3/31/20 etc. (Prejudice Nature),” construed as a motion

for reconsideration under Rule 60(b), (ECF No. 7), is DENIED.


1 The Court will, however, order the Clerk to send Plaintiff a copy of his original filing which was treated as
the Complaint in this matter. (See ECF No. 1.)

                                                        1

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       IT IS FURTHER ORDERED that Plaintiff’s letter application to proceed in forma

pauperis, (ECF No. 11), is DENIED as moot.

       IT IS FURTHER ORDERED that the Clerk shall send Plaintiff a copy of his

original filing, which was treated as the Complaint in this matter, (ECF No. 1), along with

this Order.

       This, the 12th day of January 2021.

                                             /s/ Loretta C. Biggs
                                             United States District Judge




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